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                                                                                  Hon. Barbara J. Rothstein
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8                                 UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
9                                          AT SEATTLE
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11           ALBERTO RIVERA MONROY and                       CASE NO. 2:21-cv-00813-BJR
             IRMA PARRA-RIVERA,
12                                                            STIPULATION AND ORDER TO
                                                              EXTEND TRIAL DATE AND
13
                                  Plaintiffs,                 RELATED DEADLINES
                    v.
14

15           REAL TIME RESOLUTIONS, INC.,
             MORTGAGE ELECTRONIC
16           REGISTRATION SYSTEMS, INC., and
             MTC FINANCIAL INC. d/b/a TRUSTEE
17           CORPS,

18                                Defendants.

19                                              STIPULATION
20           Defendants Real Time Resolutions, Inc. (“RTR”), Mortgage Electronic Registration Systems,
21   Inc. (“MERS”) and MTC Financial Inc. d/b/a Trustee Corps. (“MTC”) (collectively “Defendants”),
22   and Plaintiffs Alberto Rivera Monroy and Irma Parra-Rivera (“Plaintiffs”) through their attorneys of
23   record, respectfully submit this stipulation to extend the trial date and related deadlines for good
24   cause    as    stated   herein.     The    parties   request   that       the       Court          extend   all
25   deadlines set forth in the Order Setting Trial Date & Related Deadlines dated August 30, 2021 (Dkt.
26


      STIPULATION AND ORDER TO EXTEND                                HOLLAND & KNIGHT LLP
                                                                     601 SW Second Avenue, Suite 1800
      TRIAL DATE AND RELATED DEADLINES:                                     Portland, OR 97204
      CASE NO. 2:21-CV-00813-BJR - PAGE 1                                 Telephone: 503.243.2300
             Case 2:21-cv-00813-BJR Document 46 Filed 05/09/22 Page 2 of 3




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     18), for a period of 60 days. The parties need additional time to take necessary discovery and prepare
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     dispositive motions following the recent Order entered on MERS’ Motion to Dismiss (Dkt. 39).
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            Dated: April 27, 2022
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6
         s/ Christina L. Henry_______________             s/ Vicente Omar Barraza____________
7        Christina L Henry, WSBA 31273                    Vicente Omar Barraza, WSBA 31273
         HENRY & DEGRAAFF, PS                             BARRAZA LAW, PLLC
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9        Seattle, WA 98104                                Seattle, WA 98146
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11       Attorney For Plaintiffs                          Attorney For Plaintiffs
12

13

14       s/ Michael Steven DeLeo_____________             s/ Nellie Q. Barnard________________
         Michael Steven DeLeo, WSBA 22037                 Nellie Q. Barnard, WSBA 50587
15       PETERSON RUSSELL KELLY PLLC                      HOLLAND & KNIGHT LLP
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18       Fax 452-451-0714                                 Fax 503-243-2301
         mdeleo@prklaw.com                                nellie.barard@hklaw.com
19
         Attorney for Defendant                           Attorney for Defendants Real Time
20       MTC Financial Inc. d/b/a Trustee Corps           Resolutions, Inc. and Mortgage Electronic
21                                                        Registration Systems, Inc.

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      STIPULATION AND ORDER TO EXTEND                                 HOLLAND & KNIGHT LLP
                                                                      601 SW Second Avenue, Suite 1800
      TRIAL DATE AND RELATED DEADLINES:                                      Portland, OR 97204
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              Case 2:21-cv-00813-BJR Document 46 Filed 05/09/22 Page 3 of 3




 1                                              ORDER

 2         THIS MATTER came before the Court on the Parties’ Stipulation, above, and the Court,

 3 having reviewed the forgoing, records filed herein and being fully advised, the Court finds there

 4 is good cause to amend the Order Setting Trial Date & Related Deadlines dated August 30,

 5 2021.

 6         NOW, THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND DECREED that

 7 the Order Setting Trial Date & Related Deadlines dated August 30, 2021 shall be amended as

 8 requested by parties, and all deadlines extended for approximately 60 days, as set forth below:

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10                                                      Current Date                New Date

11 TRIAL DATE                                           December 12, 2022 February 13, 2023
12 Reports from expert witness under                    May 16, 2022                July 16, 2022
   FRCP 26(a)(2) due
13
   Discovery Completed By                               May 31, 2022                July 31, 2022
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   All dispositive motions must be filed by             July 14, 2022               September 14, 2022
15
   All motions in limine must be filed by               November 7, 2022            January 7, 2023
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   Joint Pretrial Statement                             November 14, 2022           January 14, 2023
17
   Pretrial Conference                                  November 28, 2022           January 30, 2023
18
   Length of trial:                                     4 days                      Jury
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     DATED this 9th day of April, 2022.
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                                                        Barbara J. Rothstein
25                                                      United States District Judge
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      STIPULATION AND ORDER TO EXTEND                                  HOLLAND & KNIGHT LLP
                                                                       601 SW Second Avenue, Suite 1800
      TRIAL DATE AND RELATED DEADLINES:                                       Portland, OR 97204
      CASE NO. 2:21-CV-00813-BJR - PAGE 3                                   Telephone: 503.243.2300
